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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

EAGLE PHARMACEUTICALS INC.,

Plaintiff,
Civil Action No. 1:22-cv-00704
Vv.

ACCORD HEALTHCARE INC., ACCORD
HEALTHCARE LTD. AND INTAS
PHARMACEUTICALS LTD.,

 

Defendant.

STIPULATED FINAL JUDGMENT OF NON-

INFRINGEMENT AND ORDER OF DISMISSAL

 

This Stipulation is made by and between Plaintiff Eagle Pharmaceuticals, Inc. (“Eagle”)
and Defendants Accord Healthcare, Inc., Accord Healthcare Ltd., and Intas Pharmaceuticals Ltd.
(collectively ““Accord”).

WHEREAS, Accord submitted NDA No. 216987 (“Accord’s NDA”) seeking FDA
approval pursuant to 21 U.S.C. § 355(b)(2) for a bendamustine hydrochloride injection product
(the “Proposed Accord Product”), identifying BELRAPZO® as the reference listed drug and
seeking approval prior to the expiration of the patents listed in the “Orange Book” for
BELRAPZO®;

WHEREAS, Accord’s NDA included a Paragraph IV certification under 21 U.S.C. § 355
(j)(2)(B)(iv)() that Accord seeks to engage in the commercial manufacture, use, offer for sale,
and/or importation of the Proposed Accord Product before the expiration of U.S. Patent No.

11,103,483 (“the ’483 patent”);
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WHEREAS, Eagle owns patents listed in the Orange Book for BELRAPZO®, including
the ’483 patent;

WHEREAS, all of the claims of the 483 patent are directed to “ready to use liquid
bendamustine-containing composition;”

WHEREAS, this is a Hatch-Waxman Act patent infringement action in which Eagle
asserts that the Proposed Accord Product infringes the °483 patent;

WHEREAS, Eagle also commenced a Hatch-Waxman Act patent infringement action
against Slayback Pharma, LLC (“Slayback”) and Apotex, Inc. and Apotex Corp. (collectively
“Apotex”) (Eagle Pharmaceuticals, Inc. v. Slayback Pharma, LLC, et al., C.A. No. 21-1256-
CFC-JLH (“the Slayback Action”), asserting that Slayback’s and Apotex’s respective proposed
bendamustine NDA products identifying BELRAPZO® as the reference listed drug infringe the
’483 patent;

WHEREAS, the Court conducted a bench trial in the Slayback Action on September 29,
2022;

WHEREAS, following the completion of the presentation of evidence on infringement in
the Slayback Action, on October 25, 2022, the Court entered final judgment of noninfringement,
based on the Court’s determination that the Slayback and Apotex proposed bendamustine NDA
products did not meet the “ready to use” limitation in the claims of the 483 patent (C.A. No. 21-
1256-CFC-JLH, D.I. 118) (“Prior Non-Infringement Judgment”);

WHEREAS, Eagle disputes the Court’s findings, conclusions, and judgment of non-
infringement in the Slayback Action and has appealed the final judgment entered in that action;

WHEREAS, the parties agree that for purposes of the “ready to use” limitation of the

claims of the ’483 patent, there is no material difference between the Slayback and Apotex
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proposed bendamustine NDA products and the Proposed Accord Product, such that applying the
Court’s findings and its reasons for entering the Prior Non-Infringement Judgment in the instant

action, Accord would be entitled to a judgment of non-infringement with respect to the Proposed
Accord Product;

WHEREAS, Eagle agrees to the entry of this judgment, based on the doctrine of
collateral estoppel in view of the Prior Non-Infringement Judgment and subject to Eagle’s right
to seek to have this Stipulated Judgment vacated pursuant to Fed. R. Civ. P. 60(b)(5) in the event
the Prior Non-Infringement Judgment is modified, reversed, or vacated on appeal; and

WHEREAS, the Court finds that there is good cause for entry of this judgment;

NOW THEREFORE, IT IS HEREBY STIPULATED BY THE PARTIES AND
ORDERED BY THE COURT AS FOLLOWS:

1. Based on the doctrine of collateral estoppel in view of the Prior Non-
Infringement Judgment, final judgment of non-infringement is hereby entered in favor of Accord
and against Eagle with respect to Eagle’s First Amended Complaint (D.I. 10) and Accord’s
Counterclaim Count I (D.I. 11, ff 15-19).

2. All other counterclaims asserted by Accord in this action are hereby dismissed
without prejudice as moot in view of the entry of that final judgment, pursuant to the discretion
afforded district court, see, e.g., Liquid Dynamics Corp. v. Vaughan Co., Inc., 355 F.3d 1361,
1371 (Fed. Cir. 2004); Phonometrics, Inc. v. Norther Telecom Inc., 133 F.3d 1459, 1468 (Fed.
Cir. 1998), and subject to Accord’s right to reassert the dismissed counterclaims in the event the
Prior Non-Infringement Judgment is modified, reversed, or vacated on appeal.

3. Each party shall bear its own costs and attorney’s fees with respect to all claims,

counterclaims, and defenses asserted by any party in this action.
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SO ORDERED, this_2/¥7 day of Neveob.2022:

CL ACH

HON. COLM F. CONNOLL #CHIEF JUDGE
UNITED STATES DISTRICT COURT
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STIPULATED AND AGREED TO BY:
Dated: November 18, 2022

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